.. .....Case 7:17-cr-00033-EKD-JCH
 - ..1'
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                                      IN THE UNITED STATES DISTRICT CO .
                                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                               ROANOKE DIVISION
              I

          /

                  UNITED STATES OF AMERICA

                               v.                                      Case No. 7:17CR00033

                  BOBBY NELSON COLLINS, JR.


                                                     PLEA AGREEMENT

                          I have agreed to enter into a plea agreement with the United States of America,
                  pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms and conditions
                  of this agreement are as follows:

                  A. CHARGE(S) TO WHICH I AM PLEADING GUILTY AND WAIVER OF
                     RIGHTS

                     1. The Charges and Potential Punishment

                         My attorney has informed me of the nature of the charge(s) and the elements of the
                  charge(s) that must be proved by the United States beyond a reasonable doubt before I
                  could be found guilty as charged.

                         I will enter a plea of guilty ~o Count 3 of the Indictment.
                                                     ,.~~-




                         Count 3 charges me with distributing a mixture and substance containing a
                  detectable amount of heroin, a Schedule I controlled substance, in violation of 21 U.S.C.
                  §§ 841(a)(l) .& 841(b)(l)(C). The maximum statutory penalty is a fine of $2,000,000
                  and/or imprisonment for a term of thirty years, plus a term .of supervised release of
                  at ~east six years.

                         I understand restitution may be ordered, my assets may be subject to forfeiture, and
                  fees may be imposed to pay for incarceration, supervised release, and costs of prosecution.
                  In addition, a $100 special assessment, pursuant to 18 U.S. C.§ 3013, will be imposed per
                  felony count of conviction. I further understand my supervised release may be revoked if


                  Defendant's Initials:   1J L-
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   I violate its terms and conditions. I understand a violation of supervised release increases
   the possible period of incarceration.

           I am pleading guilty as described above because I am in fact guilty and because
  · I believe it is in my best interest to do so and not because of any threats or promises.
    There bas been no promise made whatsoever by anyone as to what the final
    disposition of this matter will be.

      2. Waiver of Constitutional Rights Upon a Plea of Guilty

          I acknowledge I have had all of my rights explained to me and I expressly recognize
   I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
   waive and give up these valuable constitutional rights:                           -

          a. The right to plead not guilty and persist in that plea;
          b. The right to a speedy and public jury trial;
          c. The right to assistance of counsel at that trial and in any subsequent appeal;
          d. The right to remain silent at trial;
          e. The right to testify at trial;
          f. The right to confront and cross-examine witnesses called by the government;
          g. The right to present evidence and witnesses in my own behalf;
          h. The right to compulsory process of the court;
          1. The right to compel the attendance of witnesses at trial;
          J. The right to be presumed innocent;
          k. The right to a unanimous guilty verdict; and
          1. The right to appea\ a guilty verdict.

      3. Dismissal of Counts

           If I comply with my obligations under the plea agreement, the United States will
   move, at sentencing, that I be dismissed as a defendant in any remaining count(s). I
   stipulate and agree the United States had probable cause to bring all the. counts in the
   Indictment which are being dismissed under this agreement, these charges were not
   frivolous, vexatious or in bad faith, and I am not a "prevailing party" with regard to these
   charges. I further waive any claim for attorney's fees and other litigation expenses arising
   out of the investigation or prosecution of this matter.




   Defendflnt's Initials:   1JC...
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       B. SENTENCING PROVISIONS

          1. General Matters

              I understand the determination of what sentence should be imposed, within the
       confineS of any applicable statutory minimp.ms and maximums, is in the sole discretion of
       the Court subject to its consideration of the United States Sentencing Guidelines
       ("guidelines" or "U.S.S.G") and the factors set forth at 18 U.S.C. § 3553(a).' I understand
       I will have an opportunity to review a copy of my presentence report in advance of my
       sentencing hearing and may file objections, as appropriate. I will have an opportunity at
       my sentencing hearing to pr~sent evidence, bring witnesses, cross-examine any witnesses
       the government calls to testify, and argue to the Court what an appropriate sentence should
       be within the confines of the terms of this agreement.

              I understand I will not be eligible for parole during any term of imprisonment
       imposed. I understand the Court is not bound by any recommendation or stipulation
       contained in this agreement and may sentence me up to the statutory maximum. I
       understand I will not be allowed to withdraw my plea of guilty if the Court disregards
       the stipulations and/or recommendations set forth in the plea agreement.

               I understand if the sentence is more severe than I expected, I will have no right
       to withdraw my plea,. I have discussed sentencing issues with my attorney and realize
       there is a substantial likelihood I will be incarcerated.

          2. Sentencing Enhancement Information

              I understand that the United States has filed an Information pursuant to Title 21,
       United States Code, Section 851, subjecting me to an increased penalty for prior felony
       drug convictions as set forth in Section A of this Agreement. I agree and stipulate that I
       was convicted of the following possibly qualifying felony drug offense(s):

              Conspiracy to Possess with Intent to Distribute Cocaine; Western District of
              Virginia; Judgment was entered on April 28, 1997, under the name Bobby
              Nelson Collins.

              Conspiracy to Possess a Schedule II Controlled Substance with Intent to
              Distribute; Circuit Court of Wise County and City ofNorton; Judgment was
              entered on July 12, 2013, under the name Bobby Nelson Collins.




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           3. Sentencing Guidelines
                                             I


               I stipulate and agree that all matters pertaining to any of the counts of the charging   )

        document(s), including any dismissed counts, are relevant conduct for purposes of
        sentencing.

. l            I understand that because of my prior criminal record I may be treated as a. :~career
        Offender" under Guideline Section 4Bl.1, if the Court determines I have at least tWo prior
        qualifying convictions for felony drug offenses and/or crimes of violence.

                I understand guideline sections may be applic~ble to my case and the United States
        and I will be free to argue whether these sections should or should not apply; to the extent
        the arguments are not inconsistent with the stipulations, recommendations and terms set
        forth in this plea agreement.

                I agree to accept responsibility for my conduct. If I comply with my obligations
        under this plea agreement and accept responsibility for my conduct, the United States will
        recommend the Court grant me a two-level reduction in my offense level, pursuant to
        U.S.S.G. § 3E1.1(a) and, if applicable, at sentencing, will move that I receive a one-level
        reduction in my offense level, pursuant to U.S.S.G. § 3EL1(b), for purposes of any
        guidelines calculation. However, I stipulate that if I fail to accept responsibility for my
        conduct or fail to comply with any provision of this plea agreement, I should not receive
        credit for acceptance of responsibility.

           4. Substantial Assistance

               I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.
        35(b), U.S.S.G. §5K1.1 and 18 U.S.C. § 3553(e). I understand even if I fully cooperate
        with law enforcement, the United States is urider no obligation to make a motion for the
        reduction of my sentence. I understand if the United States makes a motion for a reduction
        in my sentence, the Court, after hearing the evidence, will determine how much of a
        departure, if any, I should be given. No promises have been made to me.

           5. Monetary Obligations

               a. Special Assessments, Fines and Restitution

              I 'understand persons convicted of crimes are required to pay a mandatory
        assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.


        Defendant's Initials:   ]Jc,
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  Clerk's Office, a certified check, money order, or attorney's trust check, made payable to
  the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
  to entering my plea of guilty.

          I agree to pay restitution for the entire scope of my criminal conduct, including, but
  not limited to, all matters included as relevant conduct In addition, I agree to pay any
  restitution required by law, including, but not limited to, amounts due pursuant to 18 USC
  §§ 2259, 3663, and/or 3663A. I understand and agree a requirement I pay restitution for
  all of the above-stated matters will be imposed upon me as part of any final judgment in
  this matter.

          I further agree to make good faith efforts toward payment of all mandatory
  assessments, restitution and fines, with whatever means I have at my disposal. I agree
  failure to do so will constitute a violation of this agreement. I will ~xecute any documents
  necessary to release the funds I have in any repository, bank, investment, other financial
  institution, or any other location in order to make partial or total payment toward the
  mandatory assessments, restitution and fines imposed in my case.

         I fully understand restitution and forfeiture are separate financial obligations which·
  may be imposed upon a criminal defendant. I further understand there is a process within
  the Department of Justice whereby, in certain circumstances, forfeit~d funds may be
  applied to restitution obligations. I understand no one has made any promises to me that
  such a process will result in a decrease in my restitution obligations in this case. ·

          I understand and agree, pursuant to 18 U.S.C. §§ 3613 and 3664(m), whatever
  monetary penalties are imposed by the Court will be due immediately and subject to
  immediate enforcement by the United States as provided for by statute. I understand if the
  Court imposes a schedule of payments, that schedule is only a minimum schedule of·
  payments and not the only method, nor a limitation on the methods, available to the United
  States to enforce the judgment.

         I agree to grant the United States a wage assignment, liquidate assets, or complete
  any other tasks which will result in immediate payment in full, or payment in the shortest
  time in which full payment can be reasonably made as required under 18 U.S.C. § 3572(d).

         I agree the following provisions, or words of similar effect, should be included as
  conditions of probation and/or supervised release: (1) "The defendant shall notify the
  Financial Litigation Unit, United States Attorney's Office, in writing, of any interest in
  property obtained, directly or indirectly, including any interest obtained under ariy other



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          name, or entity, including a trust, partnership or corporation after the execution of this
          agreement until all fines, restitution, money judgments and monetary assessments are paid
          in full" and (2) "The Defendant shall notify the Financial Litigation Unit, United States
          Attorney's Office, in writing, at least 30 days prior to transferring any interest in property
          owned directly or indirectly by Defendant, including any interest held or owned under any
          other name or entity, including trusts, partnership and/or corporations until all fines,
          restitution, money judgments and monetary assessments are paid in full."

                   The parties will also jointly recommend that as a condition of probation or
           supervised release, Defendant will notify the Financial Litigation Unit, Un,ited States
         · Attorney's Office, before Defendant transfers any i:dterest in property owned directly or
           indirectly by Defendant, including any interest held or owned under any other name or
           entity, including trusts, partnership and/or corporations. See 18 U.S.C. § 3664(k), (n).

                 Regardless of whether or not the Court specifically directs participation or imposes
          a schedule of payments, I agree to fully participate in inmate employment under. any
          available or recommended programs operated by the Bureau of Prisons.

                  I agree any payments made by me shall be applied fully to the non-joint and several :
          portion of my outstanding restitution balance until the non-joint and several portion of
          restitution is paid in full, unless the Court determines that to do so would cause a hardship
          to a victim of the offense(s).

                 b. Duty to Make Financial Disclosures

                 I understand in this case there is a possibility substantial fines and/or restitution may
          be imposed. In order to assist the United States as. to any recommendation and in any
          necessary collection of those sums, I agree, if requested by the United States, to provide a
          complete and truthful financial statement to the United States AttorneY's Office, within 30
          days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
          expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
          dependent children and any corporation, partnership or other entity in which I hold or have
          held an .interest, for the period starting on January 1st of the year prior to the year my
          offense began and continuing through the date of the statement. This financial statement
          shall be submitted in a form acceptable to the United States Attorney's office.

                From the time of the signing of this agreement or the date I sign the financial
          statement, whichever is earlier, I agree not to convey anything of value to any person
          without the authorization of the United States Attorney's Office.



          Defendant's Initials:   1)~

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         c. Understanding of Collection Matters

         I understand:

         1. as part of the judgment in this case I will be ordered to pay one or more monetary
            obligations;
         2. payment should be made as ordered by the Court;
         3. I must mail payments, by cashier's check or money ~rder, payable to the "Clerk,
            U.S. District Court" to: 210 Franklin Road, S.W., Suite 540, Roanoke, Virginia
            24011; and include my name and court number on the check or money order;
         4. interest (unless waived by the Court) and penalties must be imposed for late or
            missed payments;
         5. the United States may file liens on my real and personal property that will remain
            in place until monetary obligations are paid in full, or until liens expire (the later
            of 20 years from date of sentencing or release from incarceration);               '
         6. if I retain counsel to represent me regarding the United States' efforts to collect
                                                                        1




            any of my monetary obligations, I will immediately notify the United States
            Attorney's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
            Virginia 24008-1709, in writing, of the fact of my legal representation; and
         7. I, or my attorney if an attorney will represent me regarding collection of
            monetary obligations, can contact the U.S. Attorney's Office's Financial
            Litigation Unit at 540/857-2259.

  C. FORFEITURE

         I understand and agree that the following assets were forfeited via a parallel
  administrative forfeited proceeding concluded by the ATF, and that a Notice Regarding
  Forfeiture of the firearm and ammunition was previously filed with this Court as ECF 36.

         1. Smith and Wesson, Modell0-5, .38 caliber revolver, SN: C935570
         2. Miscellaneous Ammunition

         I agree to cooperate fully in the forfeiture of any property to be forfeited. If
  applicable, I agree to withdraw any existing claims and/or agree not to file any claims in
  any administrative or civil forfeiture proceeding relating to assets seized as part of this
  investigation and not otherwise named herein. I agree to execute all documents,
  stipulations, consent judgments, court orders, bills of sale, deeds, affidavits of title, and the
  like, which are reasonably necessary to pass clear title to the United States or otherwise



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         effectuate forfeiture of the property. I further-agree to fully cooperate and testify truthfully
         on behalf of the United States in any legal action necessary to perfect the United States'
         interest, including but not limited to any ancillary hearing in this criminal action or in any
         civil litigation.

                I further agree to assist in identifying, locating, returning, and forfeiting all
         forfeitable assets, including the known assets of other persons.

                I further agree that the forfeiture provisions of this plea agreement are intended to,
        and will, survive me, notwithstanding the abatement of any underlying criminal conviction
        after the execution of this agreement. The forfeitability of any particular property pursuant
        to this agreement shall be determined as if I had survived, and that determination shall be
        binding upon my heirs, successors and assigns until the agreed forfeiture, including any
        agreed money judgment amount, is collected in full. To the extent that forfeiture pursuant
        to this agreement requires me to disgorge wrongfully obtained criminal proceeds, I agree
        that the forfeiture is primarily remedial in nature.

                I understand and agree that forfeiture of this property is proportionate to the degree
        and nature ofthe offense committed by me. I freely and knowingly waive all constitutional
        and statutory challenges in any manner (including direct appe~l, habeas corpus, or any
        other means) to any forfeiture carried out in accordance with this Plea Agreement on any
        grounds, including that the forfeiture constitutes an excessive fine or punishment. I further
        understand and agree this forfeiture is separate and distinct from, and is not in the nature
        of, or in lieu of, any penalty that may be imposed by the Court.

                I understand and agree that any monetary sum( s) the United States has agreed to
        release will be less any 4ebt owed to the United States, any agency of the United States, or
        any other debt in which the United States is authorized to collect.

                I hereby release and forever discharge the United States, its officers, agents, servants
        and employees, its heirs, successors, or assigns, from any and all actions, causes of action,
        suits, proceedings, debts, dues, contracts, judgments, damages, claims, and/or dem~nds
        whatsoever in law or equity which I ever had, now have, or may have in the future in
        connection with the sei:tilre, detention and forfeiture of the described assets.




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       D. ADDITIONAL MATTERS

          1. Waiver of Right to Appeal

              Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
       3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
       on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
       any and all other issues in this matter and agree I will not file a notice of appeal. I am
       knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
       explicitly and irrevocably directing my attorney not to file a notice of appeal.
       Notwithstanding any other language to the contrary, I am not waiving my right to appeal
       or to have my attorney file a notice of appeal, as to any issue which cannot be waived, by
       law. I understand the United States expressly reserves all of its rights to appeal. I agree
       and understand if I file any court document (except for an appeal based on an issue
       that cannot be waived, by law, or a collateral attack based on indfective assistance of
       counsel} seeking to disturb, in any way, any order imposed in my case such action ,
       shall constitute a failure to comply with a provision of this agreement.

          2. Waiver of Right to Collaterally Attack

               I waive any right I may have to collaterally attack, in any future ·proceeding, any
       order issued in this matter, unless such attack is based on ineffective assistance of counsel,
       and agree I will not file any document which seeks to disturb any such order, unless such
       filing is based on ineffective assistance of counsel. I agree and understand that if I file
       any court document (except for'"an appeal based on an issue not otherwise waived in
       this agreement; an appeal based on an issue that cannot be waived, by law; or a
       collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
       way, any order imposed in my case, such action shall constitute a failure to comply
       with a provision of this agreement.

          3. Information Access Waiver

              I knowingly and voluntarily agree to waive all rights, whether asserted directly or
       by a representative, to request or receive from any department or agency of the United
       States any records pertaining to the investigation or prosecution of this case, including
       without limitation any records that may be sought under the Freedom of Information Act,
       5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §552a.




       Defendant's Initials: [](_

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      4. Waiver of Witness Fee

          I agree to waive all rights, claims or interest in any witness fee I may be eligible to
   receive pursuant to 28 U.S.C. § 1821, for my appearance at any Grand Jury, witness
   conference or court proceeding.                                          ~


      5. Abandonment of Seized Items

           By signing this plea agreement, I hereby abandon my interest in, and consent to the
   official use, destruction or other disposition of each item obtained by any law enforcement
   agency during the course of the investigation, unless such item is•specifically provided for
   in another provi~ion of this pl~a agreement. I further waive any and all notice of any
   proceeding to implement the official use, destruction, abandonment, or other disposition of
   such items.

      6. Deportation

          I understand ifl am not a citizen ofthe United States, I may be subject to deportation
   from the United States, denied United States citizenship, and denied admission to the
   United States in the future, as a result of my conviction for the offense(s) to which I am
   pleading guilty.

      7. Denial of Federal Benefits

         ,At the discretion of the court, I understand I may also be denied any or all federal
   benefits, as that term is defined in 21 U.S.C. § 862, (a) for up to five years if this is my first
   conviction of a federal or state offense consisting of the distribution of controlled
   substances, or up to one year if this is my first conviction of a federal or state offense
   involving the possession of a controlled substance; or (b) for up to ten years if this is my ,
   second conviction of a federal or state offense consisting of the distribution of controlled
  (substances, or up to five years if this is my second or more conviction of a federal or state
   offense involving the possession of a controlled substance. If this is my third or more
   conviction of a federal or state offense consisting of the distribution of controlled
   substances, I understand I could be permanently ineligible for all federal benefits, as that
   term is defined in 21 U.S.C. § 862(d).

      8. Admissibilitv of Statements

          I understand if I fail to plead guilty iJ.?. accordance with this agreement or withdraw


   Defendant's Initials:   B C.,
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   my plea(s) of guilty any statements I make (including this plea agreement, and my
   admission of guilt) during or in preparation for any guilty plea hearin.g, sentencing hearing,
   or other hearing and any statements I make or have made to law enforcement agents, in
   any setting (including during a proffer), may be used against me in this or any other
   proceeding. I knowingly waive any right I may have under the Constitution, any statute,
   rule or other source of law to have such statements, or evidence derived from such
   statements, suppressed or excluded from being admitted into evidence and stipulate that
   such statements can be admitted into evidence.

      9. Additional Obligations

          I agree not to commit any of the following acts:

              •   attempt to withdraw my guilty plea;
              •   deny I committed any crime to which I have pled guilty;
              •   make or adopt any arguments or objections to the presentence report that are
                  inconsistent wi~h this plea agreement;
              •   obstruct justice;
              •   fail to comply with any provision of this plea agreement;
              •   comrriit any other crime;
              •   make a false statement; or
              •   fail to enter my plea of guilty when scheduled to do so, unless a continuance
                  is agreed to by the United States Attorney's Office and granted by the Court.

   E. REMEDIES AVAILABLE TO THE UNITED STATES

           I hereby stipulate and agree that the United States Attorney's office may, at its
   election, pursue any or all of the following remedies if I fail to comply with any provision
   of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
   (c) reinstate any dismissed charges;, (d) file new charges; (e) withdraw any substantial
   assistance motion made, regardless of whether substantial assistance has been performed; '
   (f) refuse to abide by any provision, stipul~tions, and/or recommendations contained in this
   plea agreement; or (g) take any other action provided for under this agreement or by statute,
   regulation or court rule.

          In addition, I agree if, for any reason, my conviction is set aside, or I fail to comply
   with any obligation under the plea agreement, the United States may file, by indictment or
   information, any charges against me which were filed and/or could have been filed
   concerning the matters involved in the instant investigation. I hereby waive my right under


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     Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and consent
     to the filing of an information against me concerning any such charges. I also hereby waive
     any statute of limitations defense as to any such charges.

            The remedies set forth above are cumulative and not mutually exclusive. The
     United States' election of any of these remedies, other than declaring this plea agreement
     void, does not, in any way, terminate my obligation td comply with the terms of the plea
     agreement. The use of "if' in this section does not mean "if, and only if."

     F. GENERAL PROVISIONS

        1. Limitation of Agreement

             This agreement only binds the United States Attorney's Office for the Western
     District of Virginia. It does not bind any state or local prosecutor, other United States
    . Attorney's Office or other office or agency of the United States Government, including,
     but not limited to, the Tax Division of the United States Department of Justice, or the
      Internal Revenue Service of the United States Department of the Treasury. These
      individuals and agencies remain free to prosecute me for any offense(s) committed within
     their respective jurisdictions.

        2. Effect of My Signature

             I understand my signature on this agreement constitutes a binding offer by me to
     enter into this agreement. I understand the United States has not accepted my offer until it
     signs the agreement.

        3. Effective Representation

             I have discussed the terms of the foregoing plea agreement and all matters pertaining
     to the charges against me with my attorney and am fully satisfied with my attorney and my
     attorney's advice. At this time, I have no dissatisfaction or complajnt with my attorney's
     representation. I agree to make known to the Court no later than at the time of sentencing
     any di~satisfaction or complaint I may have with my attorney's representation.

        4. Misconduct

            If I have any information concerning any conduct of any government attorney,
     agent, employee, or contractor which could be construed as misconduct or an ethical, civil,


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           or criminal violation, I agree to make such conduct known to the United States Attorney's
           Office and the Court, in writing, as soon as possible, but no later than my sentencing
           hearing.

              5. Final Matters

                  I understand a thorough presentence investigation will be conducted and sentencing
           recommendations independent of the United· States Attorney's Office will be made by the
           presentence preparer, which the Court may adopt or take into consideration. I understand
           any calculation regarding the guidelines by the United States Attorney's Office or by my r
           attorney is speculative and is not binding upon the Court, the Probation Office or the United
           States Attorney's Office. No guarantee has been ~ade by anyone regarding the effect of
           the guidelines on my case.

                  I understand the prosecution will be free to allocute or describe the nature of this
           offense and the evidence in this case and make any recommendatimis not prohibited by
           this agreement.

                  I understand the United States retains the right, notwithstanding any provision in
           this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
           address the Court with respect to the nature and seriousness of the offense(s), to respond
           to any questions raised
                                 \
                                    by the Court, to correct any inaccuracies or inadequacies in the
           presentence report and to respond to any statements made to the Court by or on behalf of
           the defendant.

                 I willingly stipulate there is a sufficient factual basis to support each and every
           material factual allegation contained within the charging document( s) to which I am
           pleading guilty.

                   I understand this agreement does not apply to any crimes or charges not addressed
           in this agreement. I understand if I should testify falsely in this or in a related proceeding
           I may be prosecuted for perjury and statements I may have given authorities pursuant to
           this agreement may be used against me in such a proceeding.

                   I understand my attorney will be free to argue any mitigating factors on my behalf;
           to the extent they are not inconsistent with the terms of this agreement. I understand I will
           have an opportunity to personally address the Court prior to sentence being imposed.

                  This writing sets forth the entire understanding between the parties and constitutes


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         the complete plea agreement between the United States Attorney for the Western District
         of Virginia and me, and no other additional terms or agreements shall be entered except
         and unless those other terms or agreements are in writing and signed by the parties. This
         plea agreement supersedes all prior understandings, promises, agreements, or conditions,
         if any, between the United States· and me.

                 I have consulted with my attorney and fully understand all my rights. ~ have read
         this plea agreement and carefully reviewed every part of it with my attorney. I understand
         this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
         promised anything other than the terms of this plea agreement, described above, in
         exchange for my plea of guilty. Being aware of all of the possible consequences of my
         plea, I have independently decided to enter this plea of my own free will, and am affirming
         that agreement on this date and by my signature below.

         Date:         y-(rl"l                             ~~
                                                        Bobby Nelson Collins, Jr., Defendant

                 I have fully explained all rights available to my client with respect to the offenses
         listed in the pending charging document(s). I have carefully reviewed every part of this
         plea agreement with my client. To my knowledge, my client's decision to enter into this
         agreement is an informed and voluntary one.

                Ifl will continue to represent my client regarding the United States' efforts to collect
         any monetary obligations, I will notify the United States Attorney's Office, ATTN:
         Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
         the fact of my continued legal representation within 10 days of the entry of judgment in
         this case.


         Date:      ~l(/_,_l//_J_
                                ~I
                                                            s C. Turk, Jr., sq.
                                                         ounsel for Defendant



         Date: -4~·..t..:..l\.;..a...\
                                     f.u..-____
                                                        ~2:.~
                                                        Assistant United States Attorney
                                                        Virginia State Bar No. 75242


     \   Defendant's Initials:           jj'C,.
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              Date: _tf....&.....&..\..;....;l.-.....l..._(_ _ __      M0.1'-=-
                                                                     /1Alllnlrl. Rottenborn
                                                                       Assistant United States Attorney
                                                                       Illinois State Bar No. 6289334




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              Defendant's Initials:

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